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                 IN THE UNTIED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION

MORKITER JONES                                                                      PLAINTIFF

VS.                                                       CAUSE NO.: 1:18cv193-MPM-DAS

JARED BOOTH;
CITY OF COLUMBUS, MISSISSIPPI,
PARTICULARLY COLUMBUS POLICE
DEPARTMENT; and,
UNKNOWN DEFENDANTS A-Z                                                         DEFENDANT(S)


                      PLAINTIFF’S RESPONSE TO DEFENDANT’S,
                        JARED BOOTH, MOTION TO DISMISS



        COMES NOW, the Plaintiff, Morkiter Jones, by and through Counsel undersigned, and

submits this her Plaintiff’s Response to Defendant’s Motion to Dismiss:

           Plaintiff agrees to dismissal of the individual defendant, Jared Booth. A Rule 41

Agreed Order of Dismissal will be separately filed, unless the court chooses to enter its own

order pursuant to this response.

        RESPECTFULLY SUBMITTED, this the 27th day of March 2019.


                                             By:            /s/Brad Morris
                                                     BRAD MORRIS (MS BAR NO.: 104017)
                                                     Attorney for Plaintiff
Of Counsel:

BRAD MORRIS LAW FIRM, PLLC
POST OFFICE BOX 2136
1603 UNIVERSITY AVENUE
OXFORD, MS 38655
TELEPHONE: 662-701-0909
FACSIMILE: 888-636-8701
EMAIL: brad@bradmorrislawfirm.com


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    Case: 1:18-cv-00193-MPM-DAS Doc #: 17 Filed: 03/27/19 2 of 2 PageID #: 119




                               CERTIFICATE OF SERVICE

       I, Brad Morris, do hereby certify that I have this day served via ECF, U.S. Mail,

Electronic Mail, and/or Hand Delivery/Process Server, a true and correct copy of the above and

foregoing Motion to:

              Katherine Kerby, Esq.
              Kerby Law Firm
              P.O. Box 551
              Columbus, MS 39703
              Attorney for Defendant, Jared Booth

              Jeff Turnage, Esq.
              Mitchell, McNutt, & Sams
              P.O. Box 1366
              Columbus, MS 39703-1366
              Attorney for Defendant, City of Columbus


              THIS the 27th day of March 2019.

                                                      /s/Brad Morris
                                                                 BRAD MORRIS




                                                2
